 Case 1:19-cv-00970-MN Document 107 Filed 11/13/20 Page 1 of 2 PageID #: 4511




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


COMPLETE GENOMICS, INC.,                          )
                                                  )
                      Plaintiff,                  )
                                                  )
         v.                                       )   C.A. No. 19-970-MN
                                                  )
ILLUMINA, INC.,                                   )
                                                  )
                      Defendant.                  )
                                                  )
                                                  )
ILLUMINA, INC. and                                )
ILLUMINA CAMBRIDGE LTD.,                          )
                                                  )
                   Counterclaim-Plaintiffs        )
                                                  )
         v.                                       )
                                                  )
COMPLETE GENOMICS, INC.,                          )
BGI AMERICAS CORP., and                           )
MGI AMERICAS INC.                                 )
                                                  )
                                                  )
                   Counterclaim-Defendants.       )


                          NOTICE OF LODGING MULTIMEDIA

         PLEASE TAKE NOTICE that a copy of Defendant’s claim construction tutorial has been

submitted to chambers.




{01628190;v1 }
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                                      ASHBY & GEDDES

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                                      __________________________
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